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                        In the United States District Court
                            Eastern District of Arkansas
                                 Western Division

DAREL ADELSBERGER; AND
ANNETTE ADELSBERGER                                                   PLAINTIFFS

v.                             No. 4:19‐cv‐003‐SWW

UNION PACIFIC RAILROAD COMPANY                                        DEFENDANT



               Joint Motion for Entry of Agreed Protective Order


       The parties jointly move the Court to enter the proposed protective order

attached as EXHIBIT 1, and in support state:

       1.     To address any issues involving confidential information in this

case, the parties have agreed to the terms of a protective order.

       2.     Their agreed proposed order is attached as EXHIBIT 1.

       3.     The parties feel that the proposed order strikes an appropriate

balance between protecting what needs protecting, and disclosing what should

be public.

       Accordingly, the parties jointly move the Court to enter the agreed

proposed protective order attached as EXHIBIT 1.




Joint Motion for Protective Order                                            1/2
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                                    Respectfully submitted,

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